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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

FREEDOM FROM RELIGION                           :
FOUNDATION, INC., STEPHEN                       :
MEHOLIC, DAVID SIMPSON, JOHN                    :
BERRY, AND CANDACE WINKLER,                     :
                                                :
                              Plaintiffs,       :           CIVIL ACTION NO. 16-4504
                                                :
       v.                                       :
                                                :
THE COUNTY OF LEHIGH ,                          :
                                                :
                              Defendant.        :

                                    SCHEDULING ORDER

       AND NOW, this 30th day of November, 2016, after an initial pretrial conference with

counsel, it is hereby ORDERED as follows:

       1.      The parties shall complete all discovery by March 10, 2017;

       2.      The parties shall file any dispositive motions by April 7, 2017;

       3.      The parties shall file opposition to any dispositive motions by May 5, 2017;

       4.      The court shall hold oral argument on the parties’ dispositive motions on

Thursday, May 11, 2017, at 1:30 p.m.; and

       5.      Counsel are encouraged to inform the court if at any time they determine that a

settlement conference may be helpful. The court will schedule a settlement conference upon

agreement of all counsel.

                                                     BY THE COURT:



                                                     /s/ Edward G. Smith
                                                     EDWARD G. SMITH, J.
